CaSe 17-33578-hdh11 DOC 643 Filed 10/23/18 Entered 10/23/18 09252216 Page 1 Of 5

 

 

 

CASE NAME: Wi|liams Financial Group, |nc., et al.

CASE NUMBER:17-33578-HDH- 11

 

 

 

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTR[CT OF` TEXAS

DALLAS DIVISION

QUARTERLY OPERATING REPORT
AND
QUARTERLY BANK RECONCILIATION

ln accordance with Title 28, Section 1746, of the United States Code, l declare under penalty of perjury that l have examined the attached Post
Conf`tr:nation Quanerly Operating, Report, and the Post Confirmation Quarterly Bank Reconciletnent and, to the best ol" my knowledgc, these
documents are true, correct and completed Deelaration ol`the preparer (other than responsible party)‘ is based on all information ol` which
preparer has any knowledge

RESPONS!BLE PARTY:

Original Signature of Responsible Party l L MW_/

 

 

 

 

 

 

--_.J \ ‘
Printed Name of Responsible Party D€m]iS Faulkt'lel'
Title Trustee
Date \° l 7#1-‘/\ 3

l

PREPARER:
Latn, Fauii<ner & Co., P.C. '
Original Signatore of Preparer w q,M/
Printed Name of Preparer D. K€gh Et'lg€r
Title Accountant for Trustee

 

one /o _/?»Z-,// H

 

 

 

 

 

 

 

 

CaSe 17-33578-hdh11 DOC 643 Filed 10/23/18 Entered 10/23/18 09252216 Page 2 Of 5

 

 

_uOm._. OOZ_n=N_<_>._._OZ
DC>_N._.mD_r< OUm_N>._._ZO _Nm_uO_»._.

 

UQ_./m.m z>_sm" <<==m§m _n.:m:omm_ O~o:c_ _:o.. 3 m_.

 

 

 

 

HO>mm ZC_<_Wm_~" ._.\-wwm.~m-_._U_.--\_,_

 

 

 

  

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

e<:__.w_:m _.i~.:m:nmm_ GE:_F 50 210 7__»__§§.:$: mowinmm 219 H_._<nm::n_.__? _:n. r<_..O >n<_,mo_,m. ~.._u
_o-w.§§ _.__-w,d.m._.@ _.__t$m§ 1332 405/w
me_ZZ-ZO O_., _HHW_OU O>m: _w>_t>ZOEH
O>m: _~_wh_w:c,_.mn
O>m: _.Swhm:!_.m 5:_.~_20 O:WNHZ\_. O:>_~._.E~"
AB. wa# _.¢_H::w t _.E=.. Un¢::. N@o`m_ wm.cwh,c_ w,mwa.~g~,wc dw.w\__.m.ho Pm:r.:w.~_
AS. O§: _63::@ - _:.?no=mn§w=o: »r.:.=.£_:e:~ w.u_ few ..r.: row n
A£. his __nna€qm - _._.o_s ms_¢ e~. wmwa$ =.c=
::. news 32ch t :.o_.: Oo::=mwmmo=w w,o§imw - m~.cwm,m_ w.wwwwm ac.?_m.om
A£. news _.nnn::m t 255 o:::. 3563 cba …
,_.O._.>_t O>wI _~mnm:e€m w.wmm.wa aham.oa w.mt_$.~m@.l___ 13 rs_¢.~: a,wm~.qq~.cc
O>m: G_mwc_umm?_m,.z~.m"
T:. _u><g~wz.~.m ?_>UH CZU_…,.E .::w 1_&>2"
:Y »»a:::mw:.=:<n cba
ANY mnn:..nm O..E.:EJ cba .
§. 11.:.5_ nn£=::.w xmm..`.w = w.m__» § - o.aq=.“_ .
?C. C:m¢n_.=._:.~ A.._.E=E_..¢ cba t
A.£. >..r:mc:m_ _e_u= _...u~__§n:$ cba …
:3. O‘~,_.:S~ w><_$mz‘_tm Z_>Em \_._:m OC>_~._H-" cbs …
A:. R.:._n_.m_ w:.i_.:..wm . @mh‘hm _..W.__..M_©w. _w ww.c_©.wm _.:.._oc.hm … .
E. C=_¢.. §mc:q.wo::~:$ At.m. t_._\:.inn _.tmn& amoco eim.`_w`cc Ltmd,oc _.oww.oo _~.c~m.o¢ …,U
,_tO,-.>F U_w=_._m~m_w?_mz.~.m `:=m OC>W`:.U_N rm=m..n_.m m.mww.am ;m_mma.hm m_“_:mha.mw mmc.oo..#mm
H>m= W>_t.P_/_CE EZG O~.. CC>W.HHW a.~¢~.mo.___.w.»
::n _ - 25 §§ m - ?::=m _r_=a m n _L_=n ._ ..

 

 

 

 

 

 

 

   

 

 

 

CaSe 17-33578-hdh11 DOC 643 Filed 10/23/18 Entered 10/23/18 09252216 Page 3 Of 5

 

 

 

POST CONF|RMAT|ON

QUARTERLY BANK RECONC|LE|V|ENT

 

cAsE NAME: Wilnams Financial Group, lnc., et al.

 

  

 

 

 

CASE NUMBER: 1r-33578-HoH-11'" '

 

'l`he reorganized debtor must complete the reconciliation below For each bank account, including all general. payroll and tax accounts

as well as all savings and investment accounts money market accounts, certificates ofdeposits, governmental obligations etc.

Accounts with restricted funds should be identified by placing an asterisk next to the account number. Attach additional sheets for each bank
reconcilement if necessary

 

 

§"§f§ ramon COVERED: Qttttrter tending Sepfember 30’ 2018

1¥§ iBa§rik;Réeenc`il'i.tif QnS.;.-- :-;\

--.C¢O\l_iit-#ZZ.

   
 

 

 

 

 

 

 

 

   
   

   

  

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ Bank Bank of`America Plains Capital (Attach l..ist)
`ii; B. Account Number 5692 6239 :i‘ :
Debtor ln
‘§:: C. Purpose (T_vpe) Operating Possession r. . .i , _
‘§;§ 1. ottlanttl>eraattk statement 4,138~432.99 2,844.16 1\530.19 4,192.807.34
fit 2. Add: Total Deposits Not Credited
‘§:l 3. Subtract: Outstanding Checks
4_ Other Reconeiling lfems r;;:
5. Montl't End Balance Per Books 4,183,432.99 2.844.]6 1,530.19 4,]92,807.34
6. Number of Last shock written 3037
_:f§ 7. Cash: Currcncy on Hand l `
j;§§fts. 'rota:casit-Ettd amount 4,192,807.34 §§
Date of Type of
Bank, Account Name & Number purchase lnstrument Value

9.

10.

ll.

12.

13.

14. |TOTAL CASH LENE 8 - P[..US LINE 13 = LINE 14 "‘**"‘ l 4,192,807.34

**st* 'i':

 

 

 

****Must tie to Line 4, Quarterly Operating Report

 

 

CaSe 17-33578-hdh11 DOC 643 Filed 10/23/18 Entered 10/23/18 09252216 Page 4 Of 5

 

 

 

POST CONF|RN|ATION SuPPLEMENT1
QUARTERLY BANK RECONCILENIENT

 

 

cAsE NAME: Wilnams Financial Group lnc., etal-

 

 

 

CASE NUMBER: 17-33578-HDH-11

 

The reorganized debtor must complete the reconciliation below f`or each bank account, including all general, payroll and tax accounts,

as well as all savings and investment accounts, money market accounts, certificates of deposits, governmental obligations, etc. Acconnts with
restricted funds should be identified by placing an asterisk next to the account number Attach additional sheets for each bank

reconcilement ifnecessary.

 

";fi PERloo CovEREo Qnartet Endi_n§ september 30 2013
iii Bai`tk Reconctltatlons f . -

   

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

;__ . ,, Account#.$ :T:`§`-i£'¢:ct)'dirt§#?t?"? Account#$
¢;3‘ A. Bank Plains Capital Plains Capital
"Z; B. Account Number 6155 6197
21 Debtor ln Debtor ln
'i C. Purpose (Type) Possession Possession l l
I. Balance Pcr BankStatcmcnt - 1,530,]9 l,53[l.l9 ij ;‘-
2. Add: 'l`otal Deposits Not Credited
:;: 3. Subtrnct: Outstanding Checks
4. Other Reconciling ltems __
5. Month End Balance Per Books - 1,530.19 - 1,530.19 `;-
:;:§: 6. Numbett»rl.ast Cttetk written
7 ii 7. Cash: Currency on Hand
8. Total Cash - End of Month 1,530. 19
Date of Type of
Bank. Account Namc & Numbcr Purchase lnstrument VHIUC
9.
ll].
li.
12.
13. Tbtal§t?asttilhve$ftiieiiff§§\§ijl§-`§f1f§`§f;f§`§1§-§`§-;1§f;iil§i‘fii§i]§i??§-§€Fl?:l §t§-li§1§-§1§'§'1-§1§111§?;`}§§§";21;'\':f:§':f;fi;`:f:`:f£:"i:';':'f:`:i:f:f:':`;i‘i:l":`;i»:¢:
14. |'I`OTAL CASH LINE 8 ~ PLUS LINE13 = LINE 14 **** l -

 

idc-ink

 

 

 

 

 

 

****Must tie to Line 4, Quarterly Operating Report

 

CaSe 17-33578-hdh11 DOC 643 Filed 10/23/18 Entered 10/23/18 09252216 Page 5 Of 5

 

 

 

POST CONF|RMAT|ON
QUARTERLY OPERAT|NG REPORT (FOOTNOTES)

 

 

cAsE NAME: Winiams Financial oroup, |nc., et al.

 

 

caseNu`tvi`st;t=£i`i`it`r`.s`ssra-i`-ion_`tt "

 

 

 

 

Qttartetftdng.=… Set>temberw, 2918___ _

  
 

 

 

 

 

On June 19, 2018, the Court entered its Order Confirming F’|an of Liquidation

(the "Confirmation Order“) for VVil|iams Financia| Group, lnc. (Case #17-33578), VVFG
l\/lanagement Services, |nc. (Case #17-33579), VVFG |nvestments, |nc. (Case #17-33580),
and VVFG Advisors LP (Case #17-33581). The Confirmation Order created the 1 '
VVFG Liquidating Trust (the "Trust") to wrap up the remaining affairs of the four Debtors,
confirmed that the Estates of the Debtors are jointly administered and provided

that the effective date of the Plan of Liquidation Wou|d be June 29, 2018.

 

 

 

 

 

 

 

 

The final monthly operating reports for Wi||iams Financia| Group, |nc., VVFG l\/lanagement
Services, |nc., VVFG |nvestments, |nc. and VVFG Advisors I_P Were filed through

June 30, 2018. The Chapter 11 Plan became effective June 29, 2018.

A|| assets of the Debtor Were transferred to the Trust. The final cash balance

reported on the June, 2018 report is the same amount transferred to the Trust.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

